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                        Exhibit G
                       to Declaration of Matthew Hooker
                                                                                                             50WES 4,


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                                                                                                         02 1P       $ D0E972.2200200




                                                                                          FIRST- CLASS
                                                                                                         000211 4238          8
Mat'eyRice                   ATTORNEYS AT LAW                                                            MAILED FROM ZIP CODE 20004
                     LLC                                7016 3010 0000 2493 7076
401 9th St. NW,Suite 1001
Washington, DC 20004

A DDRESS SERVICE REQUESTED




                                                          OpturnRx,Inc.
                                                                       Registered Agent
                                            c/o CT Corporation System,
                                                         1015 15th St. NW
                                                            Suite 1000
                                                      W ashington, D.C. 20005
                                                                                                                                    Case: 1:17-md-02804-DAP Doc #: 5276-11 Filed: 12/15/23 2 of 16. PageID #: 625684
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                    GOVERNMENT OF THE DISTRICT OF COLUMBIA
                          OFFICE OF THE ATTORNEY GENERAL

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                                                 -.. .-




 Karl A. Racine
 Attorney General

 Office of Consumer Protection

 SUBPOENA

 In the Matter of                                         DEMAND FOR PRODUCTION
 0.ptumRx,Inc.                                            OF DOCUMENTS

 To:           OptumRx,Inc.

 Serve On:     CT Corporation System, Registered Agent
               1015 15th St. NW
               Suite 1000
               Washington, D.C. 20005

 ******************************************************************************



        The Office of the Attorney General for the District of Columbia is investigating whether
 OptumRx,Inc. may have violated one or more of the provisions of the District of Columbia
 Consumer Protection Procedures Act, D.C. Code § 28-3901, et seq., in connection with the
 negotiation of prescription drug rebates and the administration of prescription drug benefits.

         Pursuant to D.C. Code § 28-3910, and by the authority vested in the Attorney General for
 the District of Columbia, you are hereby required to produce the documents and information
 requested below, on or before January 27, 2021, to the attention of:

               Linda Singer
               Motley Rice LLC
               401 9th St. NW,Suite 1001
               Washington, DC 20004

      Questions regarding this subpoena should be directed to Assistant Attorney General
 Wendy J. Weinberg at 202-724-1342, wendy.weinberg@dc.gov.
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                                       INSTRUCTIONS

 A.    In each instance in which a document is produced in response to a Request, the current
       version should be produced together with all earlier versions, or predecessor documents
       serving the same function during the relevant time period, even though the title of earlier
       documents may differ from current versions, as well as the time period that each version
       was used by You.

 B.    The Subpoena calls for all described documents in your possession, custody or control
       without regard to the person or persons by whom or for whom the documents were
       prepared (e.g., your company employees, contractors, vendors, distributors, service
       providers, competitors, or others).

 C.    These Requests specifically include production of electronically stored information
      ("ESI").

       1.     General Instructions. A cover letter will accompany each production, identifying
              each piece of media (hard drive, thumb drive, DVD,CD,or FTP), the production
              date, production volume, and the Bates range of the production. Data will be
              produced on hard drive, thumb drive, DVD,CD,or FTP. Label all media with the
              following:

              a.      Case number
              b.      Production date
              c.      Production volume
              d.      Bates range
              e.      Media volume number(1 of X,2 of X,etc.), if applicable.

       2.     Production Format for Electronically Stored Information. Production of all ESI is
              requested in either original native file format or as searchable image files, using
              production numbering as described below. Before being produced, all parent-level
              email and loose-file (non-email) ESI should be de-duplicated across all custodians
              and shared network drives based on MD5 hash value. Individual email
              attachments should not be separately de-duplicated. All ESI should be produced
              with a metadata field listing all custodians where duplicate documents were
              found. For ESI production in image format, if any documents cannot be
              reasonably be converted to readable images, the information should be produced
              in native format or some other reasonably usable format, and image production
              should include a placeholder image for each such unconverted or unreadable
              document setting forth the original filename and extension.

       3.     Production of Email. If produced in native format, email should be produced as
              individual, parent level, HTML files, and attachments to emails should
              sequentially follow their parent emails and be produced in native format as
              separate files. If produced in searchable image format, parent emails and their
              attachments should be produced as separate, contiguous documents.


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       4.    Production of Spreadsheets. Spreadsheets should be produced in native format if
             stored in that manner, and each native file should be named with a document
             production number as described below. If a spreadsheet contains privileged
             information, you may produce it as imaged ESI, with the privileged information
             redacted, provided that You make reasonable efforts in applying page layout
             settings to maximize document readability. Images of spreadsheets that contain
             multiple worksheets should be produced with worksheet names indicated in a
             header or footer. To the extent that print-outs or images of all or part of a
             spreadsheet were also maintained in the ordinary course of business in static form
            (e.g., as a pdf attachment), those documents should be produced as images to the
             extent such production is not duplicative.

       5.    Production of Database Information. Relevant information from a database should
             be produced as a report or data table, either in a static image format or in a
             popular database application, such as an Microsoft Access database.

       6.    Production of ESI Commentary and Tracked Changes. Microsoft Word,
             Microsoft Excel, and similar file formats that provide for comments or tracked
             changes should be produced in a manner in which all comments and tracked
             changes are preserved, accessible, and viewable in their original color format.
             Such production may be in native format.

       7.    Production of Paper Documents. Scanned paper document production must have
             natural, logical document breaks and should inclale, where available, copies of-
             file folders, envelopes, or labels or Sther'identifying marks on the containers in
             which the documents were maintained. All scanned paper documents should be
             produced with OCR text in a corresponding TXT file.

       8.    Image Production Format. Searchable images should be produced as separate
             documents in either single-page Group IV TIFF format or multi-page PDF format,
             at least 300 DPI resolution, with corresponding TXT files. Imaged ESI should
             maintain all color properties, and scanned paper images should provide color
             when content of the document contains more than one color.

       9.    Document Production Numbering. Each page of all images produced (whether
             hard-copy documents or ESI) must be clearly labeled with an indelible, legible,
             unique Bates number identifier electronically "burned" onto the image.
             Reasonable steps shall be taken to place the Bates number or confidentiality
             designation at a location that does not obscure any content from the source
             document. There shall be no other branding placed on the document image,
             except to identify redactions due to privilege. To the extent possible, documents
             and ESI shall be Bates numbered consecutively, maintaining all parent/child
             relationships as well as the order of the parent emails and corresponding
             attachments.




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       10.   Load Files and Metadata. All native format and searchable image format
             production must include one or more CSV or Summation load files that associate
             each document and its Bates number with its corresponding TXT file, and that
             include the following original and processed metadata fields:

             For all imaged documents(ESI and scanned):

                    BegDoc
                    EndDoc
                    ParentID
                    AttachmentlDs
                    BegAttach
                    EndAttach

             For all ESI(native and imaged):

                     FileName
                     Extension
                     Author
                     DateCreated
                     TimeCreated
                     DateLastMod
                   . TimeLastMod
                     MD5Kash      -
                     Custodian
                     DupCustodians

             For all email:

                    MailTo
                    MailFrom
                    CC
                    BCC
                    Subject
                    DateAndTimeSent
                    DateAndTimeReceived
                    TimeZone
                    IntMsgID
                    Conversation
                    ConversationIndex
                    ParentID
                    Attachmentrns
                    BegAttach
                    EndAttach




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 If production in the requested form is not reasonably available or practical, office personnel at
 the undersigned law firm are available to discuss compatible alternatives.

         1 1.   Production Load Files. Two Load/Unitization files shall accompany all
                productions. All productions containing images must include an image load file
                that is in .LOG or .OPT format. For any productions containing native files, the
                metadata .DAT file should contain a NATIVEL1NK field that contains the
                path/link to each native file generated during production. The native files should
                be named with their corresponding bates numbers. All productions should include
                a metadata load file(.DAT file) containing all agreed upon metadata production
                fields and the delimiters should be standard Concordance delimiters:

                a.      Column Delimitet            (020)
                b.      Field Delimiter: b    (254)
                c.      New Line Delimiter: ®       (174)
                d.      Multi-Entry Delimiter: ;    (059)

 The following ASCII delimiters are also acceptable:

                e.      Column Delimiter:      A   (094)
                f.      Field Delimiter: I • (124)
                g•      New Line Delimiter: —      (126)
                h.      Multi-Entry Delimiter: ;   (059)

 The first line of the .DAT file must contain the field names to each corresponding metadata field.
 The name of the data load file should mirror the name of the delivery volume and the volume
 names should be consecutive. If foreign language/Unicode text exists, the .DAT file shall contain
 the appropriate encoding to enable preservation of the document's original language.

        12.     Searchable Files. (.TXT). Document level, searchable text files shall be provided
                for all production documents and be maintained in separate TEXT directories. All
                text files should be named with their corresponding bates numbers. The metadata
                .DAT file should contain a TEXTPATH field that contains the path/link to each
                corresponding text file generated during production. If foreign language/Unicode
                text exists, the .TXT files shall contain the appropriate encoding to enable
                preservation of the document's original language.

         13.    Privileged Documents. If any responsive document is withheld under any claim
                of privilege, provide a detailed privilege log that contains at least the following
                information for each document that you have withheld:

                a.      the name of each author, writer, sender, creator, or initiator of such
                        document;
                b.      the name of each recipient, addressee, or party for whom such document
                        was intended;



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                c.     the date of such document, or an estimate thereof if no date appears on the
                       document;
                d.     the general subject matter ofthe document; and
                e.     the claimed grounds for withholding the document, including—but not
                       limited to—the nature of any claimed privilege and grounds in support.

       14.     Duty to Preserve Documents. All documents and/or other data whiclirelate to the
               subject matter or requests ofthis subpoena must be preserved. Any destruction
               involving such documents must cease, even if it is your normal or routine course of
               business to delete or destroy such documents or data and even if you believe such
               documents or data are privileged or otherwise need not be produced.

       15.     Duty to Supplement. All document requests are continuing in nature so as to require
               the supplementary production if you obtain further responsive documents or
               information. You are also required to amend your responses to the requests
               contained within this subpoena if you discover that the previous response was
               incorrect or incomplete.

       16.     Certification. The person to whom the Subpoena is directed or, if it is directed to an
               entity, any person having knowledge of the facts and circumstances relating to the
               production, must certify that the response to this Subpoena is true and complete, and
               that all documents produced were records of regularly conducted business activity.
             - This certification muSt be made on the form declarationincluded with this
               Subpoena..

       17.     Notice of Rights. Any person to whom a subpoena has been issued under the
               Consumer Protection Procedures Act, D.C. Code § 28-3901, et seq. may exercise
               the privileges enjoyed by all witnesses, including moving to quash or modify the
              subpoena in the Superior Court of the District of Columbia on grounds including:
              (1)the Attorney General failed to follow or satisfy the procedures set forth in this
              section for the issuance of a subpoena; or(2) any grounds that exist under statute or
               common law for quashing or modifying a subpoena. In the case of refusal to obey a
              subpoena issued under this section, the Attorney General may petition the Superior
               Court of the District of Columbia for an order requiring compliance. Any failure to
               obey the order of the court may be treated by the court as contempt.

                                         DEFINITIONS

 A.    "All" shall be construed to include the collective as well as the singular and shall mean
       "each,""any," and "every."

 B.    "Any" shall be construed to mean "any and all."

 C.    "Benefits Consultant" shall mean any organization providing advisory services pertaining
       to the pharmacy benefit of a health insurance product or the administration of such a
       benefit.

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 D.   "Communications" shall mean and refer to any exchange of information by any means of
       transmissions, sending or receipt ofinformation of any kind by or through any means
       including, but not limited to, verbal expression, gesture, writings, documents, language
      (machine, foreign, or otherwise) of any kind, computer electronics, email, SMS, MMS or
       other "text" messages, messages on "social networking" sites (including, but not limited
       to, Facebook, Google+, MySpace and Twitter), shared applications from cell phones,
      "smartphones," netbooks and laptops, sound, radio, or video signals, telecommunication,
       telephone, teletype, facsimile, telegram, microfilm or by any other means. It also
      includes, without limitation, all originals and copies of inquiries, discussions,
      conversations, correspondence, negotiations, agreements, understandings, meetings,
       notices, requests, responses, demands, complaints, press, publicity or trade releases and
       the like that are provided by you or to you by others.

 E.   "Document(s)" shall mean any writing or any other tangible thing, whether printed,
       recorded (in audio, video, electronically or by any other means), reproduced by any
       process, or written or produced by hand, including, but not limited to, letters,
       memoranda, notes, opinions, books, reports, studies, agreements, statements,
       communications (including inter-company and intra-company communications),
       correspondence, telegrams, email, instant messages, chat logs, SMS, MMS or other
      "text" messages, posted information, messages, chat logs on "social networking" sites
      (including, but not limited to, Facebook, Google+, MySpace and Twitter), logs,
       bookkeeping entries, summaries or records of personal conversations, diaries, calendars,
       telephone messages and logsjorecasts, photographs, images, tape recordings, models,
       statistical stateMents, graphs, laboratory and'engineering reports, notebooks, charts,
       plans, drawings, minute's, bylaws, resolutions, records of Conferences, expfasions or
       statements of policy, lists of persons attending meetings or conferences, lists of clients or
       customers or suppliers, reports or summaries of interviews, opinions or reports of
       negotiations, brochures, pamphlets, advertisements, circulars, trade letters, press releases,
       drafts of any document and revisions of drafts of any document, and any other similar
       paper or record. The terms also include a copy of a document where the copy is not
       exactly the same as the original. The terms also include emails and other documents
       made or stored in electronic form, whether kept on computers, computer tapes, disks or
       drives, including Cloud storage, of any type, or other media upon which information may
       be recorded.

 F.    "Identify" means:

       1.     When used in connection with a person, provide that person's name, current
              residential address and telephone number,job title, and current business address
              and telephone number. (If current information is not available, provide last-
              known address and telephone number.)

       2.      When used in connection with a Document, provide the nature of the Document,
               its title, physical description, date, author, its current location, and identification
               of the current custodian.


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         3.      When used in connection with an oral communication, provide the nature of that
                 communication, the parties to it, the date, place and substance of that
                 communication, and the identification of any document concerning it.

  G.     "Including" is used merely to emphasize that a request for certain types of documents or
         information should not be construed as limiting the request in any way.

  H.     "Manufacturer(s)" shall mean a manufacturer of prescription drugs.

        "Payer(s)" shall mean any organization that pays or insures health or medical expenses
        on behalf of beneficiaries or recipients including an employer (self-insured), a third-party
        administrator or administrative-services only health insurer(for themselves or on behalf
        of their clients), or a health insurance company.

  J.     "Payment(s)" shall mean any transfer of money, goods, or services You received directly
         or indirectly from any Manufacturer. It includes, but is not limited to, statutory rebate
         payments, supplemental rebate payments, other rebate payments, research and
         development, administrative fees, distribution fees, service fees (rebate or non-rebate
         related), procurement fees, data access fees, chargeback fees, promotional.payments, cash
         product discounts, sales volume related payments of any type not described above, and
         non-sales volume related payments of any type not described above.

  K.     "Pharmacy benefit manager(s)" or "PBM(s)" shall mean any organization that
         admini-
               sters prescription drug benefits on beh.01 of a Payer.            7


  L.     "Relating to" shall mean directly or indirectly mentioning or describing, concerning,
         referring to, regarding, evidencing, setting forth, identifying, memorializing, created in
         connection with or as a result of, commenting on, embodying, evaluating, analyzing,
         tracking, reflecting or constituting, in whole or in part, a stated subject matter.

  M.     "You" or "Your" refers to the person(s) or business entity(s) to whom this Subpoena is
         directed as reflected on the first page. With respect to corporations or other business
         entities, these terms also shall be deemed to include all owners, officers, agents and
         employees thereof, and any predecessor, successor, parent, subsidiary, division, d/b/a and
         affiliated companies or other entities.

                                   RELEVANT TIME PERIOD

          The relevant time period, unless otherwise indicated in a specific request, is from January
  1,2010 to the present. The time limits should not be construed as date limits; for example, if a
  policy or document in effect during the relevant time period was created before the relevant time
  period, then documents dating back to the starting date of the policy must be produced.




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                    REQUESTS FOR DOCUMENTS AND INFORMATION

         These requests are limited to documents and information relating to the District of
  Columbia, including, but not limited to, documents and information that may be national or
  regional in scope that apply to the District of Columbia.

  1.     Produce all Documents sufficient to Identify the ten Manufacturers from which You have
         directly or indirectly received the largest Payments (as detemnned by the total dollar
         amount ofPayments) per year from 2010-2020. Per the definitions listed above, the term
         Payments includes, but is not limited to, statutory rebate payments, supplemental rebate
         payments, other rebate payments, research and development, administrative fees,
         distribution fees, service fees (rebate or non-rebate related), procurement fees, data access
         fees, chargeback fees, promotional payments, cash product discounts, sales volume
         related payments of any type not described above, and non-sales volume related
         payments of any type not described above. Include the following in Your response:

         a.     The name of the Manufacturer making Payments; and
         b.     The total amount per year ofthe Payments.

         In lieu ofproviding actual documents, You may provide a narrative response containing
         the requested information.

  2:     Produce all Documents sufficient to Identify the Payments made by each Manufacturer
         identified in response to Request 1 per year from_2010-2020. Aggregate payments of-the._,
         same tYpe per year. For example, all'administrative fees for 2010 can be combined as one •
         Payment. Include the following for each Payment in Your response:

         a.     A description of the Payment (e.g., statutory rebate payments, supplemental
                rebate payments, other rebate payments, research and development,
                administrative fees, distribution fees, service fees (rebate or non-rebate related),
                procurement fees, data access fees, chargeback fees, promotional payments, cash
                product discounts, sales volume related payments of any type not described
                above, and non-sales volume related payments of any type not described above);
         b.     The amount of each Payment;
         c.     A description of any service You performed relating to the Payment;
         d.     A description of any product or information You sold relating to the Payment;
         e.     The name of the Payer or any other entity or individual with whom You shared
                any portion of the Payment;
         f.     The amount of the Payment You shared with a Payer or any other entity or
                individual; and
         g•     The amount of the Payment You retained.

         In lieu ofproviding actual documents, You may provide a narrative response containing
         the requested information.




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  3.    Produce all Documents reflecting or related to the negotiation of the Payments identified
        in Your response to Request 2.

  4.    Produce all Communications with Manufacturers related to formulary coverage for any
        prescription drug for which You received Payments.

  5.    Produce all fmancial and medical analyses related to the inclusion or exclusion of
        prescription drugs for which You received Payments.

  6.    Produce all Documents sufficient to Identify the gross amount You paid to the
        Manufacturers identified in response to Request 1 per year from 2010-2020 for
        prescription drugs.

        In lieu ofproviding actual documents, You may provide a narrative response containing
        the requested information.

  7.    Produce all Documents sufficient to Identify all direct or indirect Payments (e.g., product
        based, volume based, or other Payments) You made to any Benefits Consultant working
        on behalf of a Payer, including:

        a.     The name of the Benefits Consultant;
        b.     The name of the Payer for whom the Benefits Consultant worked;
        c.     The date of the Payment;
        d.     The amount of the Payment; and -
        e.     A description of the Payment (e.g., product based, volume based, or other
               Payments).

        In lieu ofproviding actual documents, You may provide a narrative response containing
        the requested information.

  8.    Produce all Documents reflecting or related to direct or indirect Payments for Humira and
        every insulin product(including branded and authorized generics).

  9.    Produce all Documents sufficient to Identify all direct or indirect Payments You received
        relating to Humira and every insulin product(including branded and authorized generics).
        Include in Your response, for each Payment:

        a.     The date of the Payment;
        b.     The time period which the Payment relates to;
        c.     The name of the Manufacturer making the Payment;
        d.     The amount of the Payment;
        e.     A description the Payment (e.g., statutory rebate payments, supplemental rebate
               payments, other rebate payments, research and development, administrative fees,
               distribution fees, service fees (rebate or non-rebate related), procurement fees,
               data access fees, chargeback fees, promotional payments, cash product discounts,



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                sales volume related payments of any type not described above, and non-sales
                volume related payments of any type not described above);
         f.     The name of the prescription drug relating to the Payment;
         g.     The list price for the prescription drug relating to the Payment;
         h.     The gross amount You paid for the prescription drug;
         i.     The number of units ofthe prescription drug You purchased relating to the
                Payment;
         j.     A description of any service You performed relating to the Payment;
         k.     The name of the Payer or any other entity or individual with whom You shared
                any portion of the Payment;
         1.     The amount of the Payment You shared with a Payer or any other entity or
                individual; and
         m.     The amount ofthe Payment You retained.
         n.     Beneficiary cost sharing requirement(fixed copayment, coinsurance)
         o.     Amount paid by the beneficiary
         P.     Total Amount paid to the pharmacy (including dispensing fee)
         cl.    Post-purchase price adjustment of the prescription drug sale price
         r.     Other price agreements or guarantees related to the prescription drug.

         In lieu ofproviding actual documents, You may provide a narrative response containing
         the requested information.

  10.    Produce all agreements and Documents reflecting or related to agreements with
         Manufacturers or any entity or individual affiliated with any Manufacturer related to -
         Payments.

  1 1.   Produce all Documents sufficient to Identify all departments and individuals involved in
         negotiations or agreement with Manufactures related to the purchase, coverage,
         promotion or sale of prescription drugs, including, but not limited to, the following:

         a.     the name of each department or individual;
         b.     the date each department was formed and (if applicable) dissolved;
         c.     the title(s) each individual has or had;
         d.     the name of the department(s)for which each individual works or worked
         e.     the relevant duties and responsibilities each individual has or had;
         f.     the dates of employment for each individual; and
         g.     the last known contact information for each individual who no longer works for
                You.

         In lieu ofproviding actual documents, You may provide a narrative response containing
         the requested information.

  12.    Produce all Documents reflecting or related to Communications relating to negotiations
         or agreements relating to Payments, including the target level of Payments or the impact
         ofPayment levels on your Profits, or the value of any Payments to Your revenue or
         profits.


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  13.    Produce the personnel files for each individual identified in Your response to Request 11
         including, but not limited to, any performance evaluations and disciplinary actions.

  14.    Produce all Documents reflecting or related to Your projections or analyses relating to:
        (a) the value ofPayments;(b) whether and how Payments are passed on to consumers(c)
         how Payments impact Your profitability;(d) how Payments impact Your bargaining
         power in negotiations with Manufacturers and/or Payers;(e) the impact or practice of
         classifying Payments in certain ways (e.g., classifying a Payment as a rebate rather than a
        fee or vice-versa); and/or (1) the relationship between Payments and list prices.

  15.   Produce all Documents reflecting or related to the results of any audit (including both
        internal and third-party audits) relating to Your practices involving Payments, including,
        but not limited to, Your classification of any fees or rebates.

  16.   Produce all Documents You relied upon when testifying before Congress about the
        pricing of prescription drugs.

  17.   Produce all Documents relating to legislation or proposed legislation that could impact
        the Payments You receive, including, but not limited to, the proposed elimination of the
        safe harbor provision in 42 CFR 1001.952(h).

  18.   Produce all Documents relating to any research or study You commissioned that
        examines Payments made to pharmacy benefit managers from Manufacturers.

  19:   Produce all Documents reflecting or relating to any complaints or concerns )77.ou received
        relating to Your practices involving Payments, including, but not limited to, any
        complaints You received from Manufacturers, Payers, whistleblowers, and consumers.

  20.   Produce all Documents sufficient to Identify all lawsuits filed against You relating to
        Your practices involving Payments, including, but not limited to, any lawsuits that allege
        You overcharged Payers and/or consumers for prescription drugs and/or that there is a
        relationship between the Payments You receive and the increase in list price of
        prescription drugs.

        In lieu ofproviding actual documents, You may provide a narrative response containing
        the requested information.

  21.   Produce all Documents produced in any government investigation or any litigation
        relating to Your practices involving Payments.

  22.   Produce all settlement agreements or judgments relating to Your practices involving
        Payments.




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  Dated: December 28, 2020             KARL A. RACINE
                                       Attorney General for the District of Columbia



                             Issued:
                                                     /06,0A
                                                   CK
                                       Assistant Deputy Attorney General
                                       Public Advocacy Division

                                       BENJAMIN M. WISEMAN
                                       Director, Office of Consumer Protection
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                               FORM OF CERTIFICATE OF
                                        COMPLIANCE

         I/VVe have knowledge of the facts and circumstances relating to the production of
  the information and documents required by the Subpoena to OptumRx,Inc. I/We do
  hereby certify that all information and documents required by the Subpoena that are in
  the possession, custody, or control of OptumRx,Inc. have been submitted to the      •
  designated representative named therein or to the District of Columbia Office of Attorney
  General.

         If any information or documentary material otherwise responsive to this Subpoena
  has been withheld on the basis of objection or privilege, these objections or claims of
  privilege have been stated in lieu of production.

• Signature:


  Title:


  SWORN TO before me this              day of             2021.




  NOTARY PUBLIC




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